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                              UNITED STATES DISTRICT COURT
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                           EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,                           No. CR-13-014-RMP-4
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 9                         Plaintiff,                    ORDER GRANTING UNOPPOSED
                                                         MOTION TO MODIFY
10 vs.                                                   CONDITIONS OF RELEASE
11
   CHRIS OLSON,
12
13                         Defendant.
14             Before the court is the Defendant, Chris Olson’s unopposed Amended
15   Motion to Modify Conditions of Release. For good cause shown,
16             IT IS ORDERED that the unopposed Amended Motion to Modify
17   Conditions of Release, ECF 138, is GRANTED.                       The requirement that the
18   Defendant shall remain in the Eastern District of Washington will be modified to
19   permit limited travel from June 7, 2013 to June 27, 2013.
20             All other terms and conditions of his release will remain in full force and
21   effect.
22             DATED June 4, 2013.
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24                               S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
